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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

JOHN CURRY,                                          Civil Action No.

     Plaintiff,

v.                                                   JURY TRIAL DEMANDED

PSI SECURITY SERVICE,

     Defendant.



                         COMPLAINT FOR DAMAGES

        COMES NOW, John Curry (“Plaintiff” or “Mr. Curry”), by and through his

undersigned counsel, and files this, his Complaint for Damages, and shows the

Court as follows:

                           NATURE OF COMPLAINT

                                          1.

        Plaintiff brings this action for damages, liquidated damages, and reasonable

attorney fees for Defendant’s violation of his rights under the Americans with

Disabilities Act of 1990, as amended, 42 U.S.C. § 12111 et seq. (“ADA”), the

Family’s First Coronavirus Response Act of 2020 (“FFCRA”), and those sections




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of the Family Medical Leave Act (“FMLA”) and Fair Labor Standards Act

(“FLSA”) specifically incorporated by the FFCRA.

                          JURISDICTION AND VENUE

                                            2.

       Plaintiff invokes the jurisdiction of this court pursuant to 28 U.S.C. §§ 1331

and 1343, 42 U.S.C. § 12117, and 28 U.S.C. § 1367.

                                            3.

       Defendant PSI Security Service (“Defendant”) does business in this judicial

district.   Additionally, the unlawful employment practices alleged in this

Complaint were committed within this district. In accordance with 28 U.S.C. §

1391, venue is appropriate in this Court.

                                      PARTIES

                                            4.

       Plaintiff is a citizen of the United States of America and a resident of the

State of Georgia. Plaintiff is subject to the jurisdiction of this Court.

                                            5.

       Defendant is qualified and licensed to do business in Georgia, and at all

times material hereto has conducted business within this District.




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                                           6.

      Defendant is a corporation qualified and licensed to do business in Georgia,

and at all times material hereto has conducted business within this District.

                                           7.

      Defendant may be served with process by delivering a copy of the summons

and complaint to its Vice President, Jay Boudrie, at its principal place of business

located at 2028 S. Cobb Drive SE, Marietta, GA 30060.

                                           8.

      At all such times, Plaintiff was an “employee” of Defendant as defined

under the ADA at 42 U.S.C. § 12111(4).

                                           9.

      During all times relevant hereto, Defendant had employed fifteen (15) or

more employees for the requisite duration under the ADA. Defendant is therefore

covered under the ADA in accordance with 42 U.S.C. § 12111(5).




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                     ADMINISTRATIVE PROCEDURES

                                         10.

      Plaintiff timely filed a charge of discrimination against Defendant with the

Equal Employment Opportunity Commission (“EEOC”) on August 17, 2020.

                                         11.

      The EEOC issued a “Notice of Right to Sue” on December 2, 2020, entitling

an action to be commenced within ninety (90) days of receipt of that notice.

                                         12.

      This action has been commenced within ninety (90) days of receipt of the

“Notice of Right to Sue.”

                            FACTUAL ALLEGATIONS

                                         13.

      Mr. Curry began working for Defendant on or about February 28, 2020, as a

Flex Officer.

                                         14.

      Mr. Curry was promoted to an Operations Manager in June 2020.

                                         15.

      On June 26, 2020, Mr. Curry notified Defendant that his wife was being

tested for COVID after being exposed at her job.


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                                        16.

      The following day, Mr. Curry began experiencing extreme COVID-related

symptoms.

                                        17.

      Mr. Curry notified his supervisor, Jay Boudrie, of his rapidly deteriorating

condition.

                                        18.

      Mr. Boudrie instructed Mr. Curry to stay away from all work sites until his

wife’s COVID test came back.

                                        19.

      On June 28, 2020, Mr. Boudrie asked Mr. Curry to get tested for COVID.

                                        20.

      Mr. Curry was tested for COVID on June 30, 2020.

                                        21.

      On July 6, 2020, Mr. Curry was notified that he had tested positive for

COVID and instructed to quarantine.

                                        22.

      Mr. Curry alerted Mr. Boudrie of his positive COVID test the same day.




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                                        23.

      Defendant did not provide Mr. Curry leave to recover from COVID, as

provided under the FFCRA. Instead, while under quarantine, despite being ill,

Defendant required that Mr. Curry continued to perform work related tasks for

Defendant.

                                        24.

      On July 15, 2020, Mr. Curry received a phone call from another Operations

Manager saying that he was on his way to pick up all of the company property that

Mr. Curry had possession of.

                                        25.

      Mr. Curry was blindsided by the apparent termination of his employment.

                                        26.

      Mr. Curry thereafter attempted to contact Defendant on multiple occasions

to find out why his employment had been terminated, but Defendant never

responded.

                                        27.

      Mr. Curry requested a reasonable accommodation of his disabilities.




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                                          28.

      Specifically, Mr. Curry requested time off to quarantine following his

positive COVID test.

                                          29.

      Defendant failed to engage in the interactive process with Mr. Curry, even

though doing so would not have been an undue hardship.

                                          30.

      Instead, Defendant denied him leave, in violation of the FFCRA, and

terminated his employment while he was on medical leave and under quarantine in

violation of the FFCRA

                                          31.

      Defendant terminated Plaintiff because he had a record of a disability and/or

because it regarded him as disabled and/or because he engaged in protective

activity and/or because he was entitled to the protections of the FFCRA.

                                          32.

      Employees outside of his protected class, i.e. employees who did not test

positive for COVID-19, were treated differently, i.e. not terminated.




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                             CLAIMS FOR RELIEF

  COUNT I: DISABILITY DISCRIMINATION IN VIOLATION OF ADA

                                           33.

      Plaintiff re-alleges paragraphs 13-32 as if set forth fully herein.

                                           34.

      Plaintiff had a physical impaiment which substantially limits one or more

major life activities including but not limited to moving, lifting, bending, twisting,

pushing, pulling, and standing.

                                           35.

      Plaintiff’s physical impairment is a “disability” within the meaning of the

ADA, as amended.

                                           36.

      Defendant was aware of Plaintiff’s disability.

                                           37.

      Defendant regarded Plaintiff as having a disability such that he is a person

with a disability and/or perceived disability within the meaning of the ADA, as

amended.




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                                            38.

      Plaintiff has a record of having a disability and/or perceived disability such

that he is a person with a disability within the meaning of the ADA, as amended.

                                            39.

      At all times relevant to this action, Plaintiff was a qualified individual with a

known or perceived disability as defined in the ADA.

                                            40.

      Defendant terminated Plaintiff’s employment because of his disability,

perceived disability, or record of having a disability.

                                            41.

      Defendant terminated Plaintiff’s employment because of his accommodation

requests.

                                            42.

      By terminating Plaintiff’s employment because of his disability, perceived

disability, or record of having a disability, Defendant violated the ADA, as

amended.

                                            43.

      Although Defendant purports to provide a legitimate non-discriminatory

reason for the adverse action, this reason is a pre-text for disability discrimination.


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                                          44.

      Defendant treated other employees outside Plaintiff’s protected class

differently.

                                          45.

      Defendant’s actions in subjecting Plaintiff to different terms and conditions

of employment constitutes unlawful discrimination on the basis of this violation of

the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. § 12111 et

seq., 42 U.S.C. 2000e et seq. and 42 U.S.C. section 1981A.

                                          46.

      Defendant has willfully and wantonly disregarded Plaintiff’s rights, and

Defendant’s discrimination against Plaintiff was undertaken in bad faith.

                                          47.

      The effect of the conduct complained of herein has been to deprive Plaintiff

of equal employment opportunity and has otherwise adversely affected his status as

an employee because of his disability.

                                          48.

      As a direct and proximate result Defendant’s violation of the ADA, Plaintiff

has been made the victim of acts that have adversely affected his psychological and

physical well-being.


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                                            49.

      As a result of Defendant’s discriminatory actions against Plaintiff, he has

suffered lost compensation and benefits, emotional distress, inconvenience,

humiliation, and other indignities.

                                            50.

      Pursuant to the ADA, as amended, Plaintiff is entitled to damages including

but not limited to back pay and lost benefits, reinstatement, compensatory

damages, equitable relief, attorneys’ fees, costs of litigation and all other relief

recoverable under the ADA, as amended.

                                            51.

      Defendant discriminated against Plaintiff, and, in failing and refusing to take

any appropriate remedial action to remedy the unlawful employment practices, has

not only deprived Plaintiff of equal employment opportunities, but exhibited

malice or reckless indifference to the federally protected rights of Plaintiff.

                                            52.

      Plaintiff thus seeks compensatory and punitive damages pursuant to

§102(a)(1) of the Civil Rights Act of 1991, 42 U.S.C. § 1981a(b).




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  COUNT II: FAILURE TO ACCOMMODATE IN VIOLATION OF ADA

                                           53.

      Plaintiff re-alleges paragraphs 13-32 as if set forth fully herein.

                                           54.

      Plaintiff has a physical impaiment which substantially limits one or more

major life activities including but not limited to moving, lifting, bending, twisting,

pushing, pulling, and standing.

                                           55.

      Plaintiff’s physical impairment is a “disability” within the meaning of the

ADA, as amended.

                                           56.

      Defendant was aware of Plaintiff’s disability.

                                           57.

      At all times relevant to this action, Plaintiff was a qualified individual with a

known or perceived disability as defined in the ADA.

                                           58.

      Plaintiff was able to perform the essential functions of his job with a

reasonable accommodation.




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                                          59.

         Plaintiff requested that Defendant accommodate his disability by allowing

him to take medical leave to self-quarantine due to his positive COVID-19 test and

related symptoms.

                                          60.

         Upon receiving Plaintiff’s request for an accommodation, Defendant failed

to meaningfully engage in the interactive process with Plaintiff regarding his

request for a reasonable accommodation of his disability.

                                          61.

         Defendant refused to provide Plaintiff with reasonable accommodations,

even though to do so would not impose an undue hardship.

                                          62.

         By refusing to accommodate Plaintiff, Defendant violated the ADA, as

amended.

                                          63.

         Defendant has willfully and wantonly disregarded Plaintiff’s rights, and

Defendant’s failure to accommodate Plaintiff’s disability was undertaken in bad

faith.




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                                            64.

      The effect of the conduct complained of herein has been to deprive Plaintiff

of equal employment opportunity, and has otherwise adversely affected his status

as an employee because of his disability.

                                            65.

      As a direct and proximate result Defendant’s violation of the ADA, Plaintiff

has been made the victim of acts that have adversely affected his psychological and

physical well-being.

                                            66.

      As a result of Defendant’s discriminatory actions against Plaintiff, he has

suffered lost compensation and benefits, emotional distress, inconvenience,

humiliation, and other indignities.

                                            67.

      Pursuant to the ADA, as amended, Plaintiff is entitled to damages including

but not limited to back pay and lost benefits, reinstatement, compensatory

damages, equitable relief, attorneys’ fees, costs of litigation and all other relief

recoverable under the ADA, as amended.




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                                            68.

      Defendant discriminated against Plaintiff, and, in failing and refusing to take

any appropriate remedial action to remedy the unlawful employment practices, has

not only deprived Plaintiff of equal employment opportunities, but exhibited

malice or reckless indifference to the federally protected rights of Plaintiff.

                                            69.

      Plaintiff thus seeks compensatory and punitive damages pursuant to

§102(a)(1) of the Civil Rights Act of 1991, 42 U.S.C. § 1981a(b).

              COUNT III: RETALIATION IN VIOLATION OF
                       THE ADA, AS AMENDED

                                            70.

      Plaintiff re-alleges paragraphs 13-32 as if set forth fully herein.

                                            71.

      Plaintiff has a physical impaiment which substantially limits one or more

major life activities including but not limited to moving, lifting, bending, twisting,

pushing, pulling, and standing.

                                            72.

      Plaintiff’s physical impairment is a “disability” within the meaning of the

ADA, as amended.



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                                           73.

      Defendant was aware of Plaintiff’s disability.

                                           74.

      At all times relevant to this action, Plaintiff was a qualified individual with a

known or perceived disability as defined in the ADA.

                                           75.

      Defendant terminated Plaintiff for requesting an accommodation for his

disability and/or perceived disability.

                                           76.

      Plaintiff’s request for an accommodation of his disability and/or perceived

disability constitutes protected conduct under the ADA, as amended.

                                           77.

      Defendant retaliated against Plaintiff by terminating his employment on the

basis of his request for an accommodation.

                                           78.

      Defendant terminated Plaintiff’s employment within a close temporal

proximity to Plaintiff’s accommodation requests.




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                                          79.

      Defendant’s proffered reasons for terminating Plaintiff’s employment are a

pretext designed to hide Defendant’s retaliatory motive.

                                          80.

      Defendant’s retaliatory actions against Plaintiff were in violation of the

ADA, as amended.

                                          81.

      Defendant willfully and wantonly disregarded Plaintiff’s rights, and

Defendant’s retaliation against Plaintiff was undertaken in bad faith.

                                          82.

      As a result of Defendant’s retaliatory actions against Plaintiff, he has

suffered lost compensation and benefits, emotional distress, inconvenience,

humiliation, and other indignities.

                                          83.

      Pursuant to the ADA, as amended, Plaintiff is entitled to damages including

but not limited to back pay and lost benefits, reinstatement, compensatory

damages, equitable relief, attorneys’ fees, costs of litigation and all other relief

recoverable under the ADA, as amended.




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                                            84.

      Defendant discriminated against Plaintiff, and, in failing and refusing to take

any appropriate remedial action to remedy the unlawful employment practices, has

not only deprived Plaintiff of equal employment opportunities, but exhibited

malice or reckless indifference to the federally protected rights of Plaintiff.

                                            85.

      Plaintiff thus seeks compensatory and punitive damages pursuant to

§102(a)(1) of the Civil Rights Act of 1991, 42 U.S.C. § 1981a(b).

                 COUNT IV: VIOLATIONS OF THE FFCRA

                                            86.

      Plaintiff re-alleges paragraphs 13-32 as if set forth fully herein.

                                            87.

      At all times material to this Complaint, Defendant was a covered employer

under the FFCRA because Defendant has been a private employer and has had

fewer than five hundred (500) employees.

                                            88.

      Plaintiff was an employee under the FFCRA eligible for paid sick leave and

paid leave due to his COVID diagnosis.




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                                           89.

         On June 27, 2020, Plaintiff notified Defendant that he was experiencing

symptoms related to COVID-19.

                                           90.

         Because of this, under the FFCRA, Plaintiff qualified for two weeks of paid

sick leave.

                                           91.

         Defendant and its representatives knew that Plaintiff was quarantining in

accordance with the FFCRA, yet continued to expect him to complete work-related

tasks.

                                           92.

         Despite knowing that Plaintiff was taking leave to self-quarantine due to

COVID-19, it decided to discharge Plaintiff while he was on leave and before his

return. Defendant therefore willfully violated the FFCRA and interfered with

Plaintiff’s rights under the FFCRA.

                                           93.

         Defendant terminated Plaintiff’s employment on July 15, 2020, to avoid

providing time off under the FFCRA.




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                                           94.

      As a result of Defendant’s willful violations of the FFCRA, Plaintiff is

entitled to liquidated damages.

                                           95.

      By reason of the said intentional, willful and unlawful acts of Defendant,

Plaintiff has suffered damages plus incurring costs and reasonable attorney’s fees.

      WHEREFORE, Plaintiff judgment as follows:

      (a)          General damages for mental and emotional suffering caused by

                   Defendant’s misconduct;

      (b)          Punitive damages based on Defendant’s willful, malicious,

                   intentional,   and    deliberate   acts,   including   ratification,

                   condonation and approval of said acts;

      (c)          Special damages and/or liquidated damages for lost wages and

                   benefits and prejudgment interest thereon;

      (d)          Reasonable attorney’s fees and expenses of litigation;

      (e)          Trial by jury as to all issues;

      (f)          Prejudgment interest at the rate allowed by law;

      (g)          Declaratory relief to the effect that Defendant has violated

                   Plaintiff’s statutory rights;


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      (h)          Injunctive relief of reinstatement, or front pay in lieu thereof,

                   and prohibiting Defendant from further unlawful conduct of the

                   type described herein; and

      (i)          All other relief to which he may be entitled.



      Respectfully submitted the 12th day of February, 2021.

                                         BARRETT & FARAHANY

                                         s/ Adian R. Miller
                                         Adian R. Miller
                                         Georgia Bar No. 794647

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